Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 1 of 34




                                          SIC_POL_XL_50472_0001

                   Exhibit 7, Page 1 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 2 of 34




                                          SIC_POL_XL_50472_0002

                   Exhibit 7, Page 2 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 3 of 34




                                          SIC_POL_XL_50472_0003

                   Exhibit 7, Page 3 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 4 of 34




                                          SIC_POL_XL_50472_0004

                   Exhibit 7, Page 4 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 5 of 34




                                          SIC_POL_XL_50472_0005

                   Exhibit 7, Page 5 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 6 of 34




                                          SIC_POL_XL_50472_0006

                   Exhibit 7, Page 6 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 7 of 34




                                          SIC_POL_XL_50472_0007

                   Exhibit 7, Page 7 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 8 of 34




                                          SIC_POL_XL_50472_0008

                   Exhibit 7, Page 8 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 9 of 34




                                          SIC_POL_XL_50472_0009

                   Exhibit 7, Page 9 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 10 of 34




                                          SIC_POL_XL_50472_0010

                   Exhibit 7, Page 10 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 11 of 34




                                          SIC_POL_XL_50472_0011

                   Exhibit 7, Page 11 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 12 of 34




                                          SIC_POL_XL_50472_0012

                   Exhibit 7, Page 12 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 13 of 34




                                          SIC_POL_XL_50472_0013

                   Exhibit 7, Page 13 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 14 of 34




                                          SIC_POL_XL_50472_0014

                   Exhibit 7, Page 14 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 15 of 34




                                          SIC_POL_XL_50472_0015

                   Exhibit 7, Page 15 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 16 of 34




                                          SIC_POL_XL_50472_0016

                   Exhibit 7, Page 16 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 17 of 34




                                          SIC_POL_XL_50472_0017

                   Exhibit 7, Page 17 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 18 of 34




                                          SIC_POL_XL_50472_0018

                   Exhibit 7, Page 18 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 19 of 34




                                          SIC_POL_XL_50472_0019

                   Exhibit 7, Page 19 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 20 of 34




                                          SIC_POL_XL_50472_0020

                   Exhibit 7, Page 20 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 21 of 34




                                          SIC_POL_XL_50472_0021

                   Exhibit 7, Page 21 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 22 of 34




                                          SIC_POL_XL_50472_0022

                   Exhibit 7, Page 22 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 23 of 34




                                          SIC_POL_XL_50472_0023

                   Exhibit 7, Page 23 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 24 of 34




                                          SIC_POL_XL_50472_0024

                   Exhibit 7, Page 24 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 25 of 34




                                          SIC_POL_XL_50472_0025

                   Exhibit 7, Page 25 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 26 of 34




                                          SIC_POL_XL_50472_0026

                   Exhibit 7, Page 26 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 27 of 34




                                          SIC_POL_XL_50472_0027

                   Exhibit 7, Page 27 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 28 of 34




                                          SIC_POL_XL_50472_0028

                   Exhibit 7, Page 28 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 29 of 34




                                          SIC_POL_XL_50472_0029

                   Exhibit 7, Page 29 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 30 of 34




                                          SIC_POL_XL_50472_0030

                   Exhibit 7, Page 30 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 31 of 34




                                          SIC_POL_XL_50472_0031

                   Exhibit 7, Page 31 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 32 of 34




                                          SIC_POL_XL_50472_0032

                   Exhibit 7, Page 32 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 33 of 34




                                          SIC_POL_XL_50472_0033

                   Exhibit 7, Page 33 of 34
Case 2:15-cv-01004-TSZ Document 50-7 Filed 11/05/15 Page 34 of 34




                                          SIC_POL_XL_50472_0034

                   Exhibit 7, Page 34 of 34
